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                                IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF PUERTO RICO

          In Re
          FERNANDO VILLAMIL WISCOVITCH                         Case No.        19-06327-BKT
          xxx-xx-9164
                                                               Chapter         11


          Debtor

                     MOTION TO AMEND SCHEDULE E/F, CERTIFICATE OF SERVICE
                                AND NOTICE TO ADDED CREDITOR

       TO THE HONORABLE COURT:

               COMES Now the Debtor represented by the undersigned counsel, and respectfully states

       and prays as follows:

               1.   On today’s date the Debtors are filing an Amended Schedule E/F, with the purpose

       of eliminating items #4.8, #4.18, #4.25 and #4.26, to disclose the date that the debts were

       incurred in items #4.1, #4.2, #4.11, #4.17, #4.24, #4.27 and #4.28, to indicate the basis for

       the claim of item #4.15, and to update the classification of the debt in item #4.29 to

       contingent/unliquidated and/or disputed.


               2.      Such Amended Schedule and a copy of the original Notice of 341 Meeting of

       Creditors Exhibit 1 is also being sent via US Mail to the added creditor listed above at the above

       mailing address, in compliance with Local Bankruptcy Rule 1009-1(c)(1).

               WHEREFORE, Debtors hereby pray from this Honorable Court to take notice of the above.

                                                      NOTICE
               Within fourteen (14) days after service as evidenced by the certification, and an additional
       three (3) days pursuant to Fed. R. Bank. P. 90006(f) if you were served by mail, any party against
       whom the Amended Schedule has been served, or any other party to the action who objects to
       the relief sought herein, shall serve and file an objection or other appropriate response to this
       paper with the Clerk’s office of the US Bankruptcy Court of the District of Puerto Rico. If no
       objection or other response is filed within the time allowed herein, the Amended Schedule will be
       deemed unopposed and may be granted unless: (i) the requested relief is forbidden by law: (ii)
       the requested relief is against public policy, or (iii) in the opinion of the court, the interest of justice
       requires otherwise.

                                ADDITIONAL NOTICE TO ADDED CREDITOR(S)
                                                                                                           . Ed. 1/25/18
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                 Additional Notice to the Added Creditor(s) in accordance with Local Bankruptcy Rule
       1009-1 (c)(2): You have a right to file a Proof of Claim within ninety (90) days of service of this
       document, or within the time set for previously scheduled creditors to file Proofs of Claim,
       whichever is later; or within such other time as allowed by Fed. R. Bankr. P. 9006(c) and ordered
       by the Court.
                 Moreover, creditors added after the section 341 meeting of creditors has commenced are
       entitled to reconvene the 341 meeting, upon request to the United States Trustee, unless the
       court orders otherwise.
                 In Chapter 7 Cases creditors also have a right to file complaints under 11 USC sec. 523
       and 727, and objections to the debtor’s claim of exemptions, within sixty (60) days of service of
       this Motion, or within the time set for the creditors to file those complaints or objections, whichever
       is later.
                                            CERTIFICATE OF SERVICE
                 I HEREBY CERTIFY that on this same date, I electronically filed the foregoing with the
       Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
       CM/ECF participants including the US Trustee, and the Case Trustee.

                I FURTHER CERTIFY to have sent the present document by regular US Mail to the added
       creditor(s) at the above stated mailing address, in compliance with Local Bankruptcy Rule 1009-
       1(c)(1).

              RESPECTFULLY SUBMITTED.

              In San Juan, Puerto Rico, this January 31, 2020.




                                                                               Attorneys for Debtors

                                                                                      PO Box 191757
                                                                            San Juan, PR 00919-1757

                                                                         /s/ Enrique M. Almeida, Esq.
                                                                           Enrique M. Almeida, Esq.
                                                                                   USDC-PR 217701
                                                                 enrique.almeida@almeidadavila.com

                                                                            /s/ Zelma B. Davila, Esq.
                                                                              Zelma B. Dávila, Esq.
                                                                                  USDC- PR 218913
                                                                    zelma.davila@almeidadavila.com




                                                                                                       . Ed. 1/25/18
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     Case:19-06327-BKT11 Doc#:46  Filed:01/31/20 Entered:11/01/19
                         Doc#:5 Filed:11/01/19    Entered:01/31/2009:51:05
                                                                   15:48:55   1Desc:Ch
                                                                      EXHIBIT Desc:  Main
                                                                                       11
                                Document      Page 3 of 16
                                 First Mtg I/J Page 1 of 3
 Information to identify the case:
 Debtor 1              FERNANDO LUIS VILLAMIL WISCOVITCH                                        Social Security number or ITIN           xxx−xx−9164
                       First Name   Middle Name    Last Name                                    EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                       Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                                EIN     _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               District of Puerto Rico
                                                                                                Date case filed for chapter 11 10/30/19
 Case number:          19−06327 −BKT 11

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                               About Debtor 1:                                              About Debtor 2:
 1. Debtor's full name                         FERNANDO LUIS VILLAMIL WISCOVITCH

 2. All other names used in the dba FERNANDO VILLAMIL WISCOVITCH MD
    last 8 years

 3. Address                                    10710 SIR PLACE
                                               JENKS, OK 74037

                                               ENRIQUE M ALMEIDA BERNAL                                   Contact phone (787) 722−2500
 4. Debtor's attorney                          ALMEIDA & DAVILA PSC
      Name and address                         PO BOX 191757                                              Email adecfmail@gmail.com
                                               SAN JUAN, PR 00919−1757

 5. Bankruptcy clerk's office                                                                             Hours open 8:00 AM − 4:00 PM
      Documents in this case may be filed      Jose V Toledo Fed Bldg & US Courthouse
      at this address.                         300 Recinto Sur Street, Room 109                           Contact phone (787) 977−6000
      You may inspect all records filed in     San Juan, PR 00901
      this case at this office or online at
                                                                                                          Date: 11/1/19
      www.pacer.gov.

                                                                                                           For more information, see page 2 >




Official Form 309E (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                         page 1
   Case:19-06327-ESL11
   Case:19-06327-BKT11 Doc#:46  Filed:01/31/20 Entered:11/01/19
                       Doc#:5 Filed:11/01/19    Entered:01/31/2009:51:05
                                                                 15:48:55 Desc:
                                                                           Desc:Ch
                                                                                 Main
                                                                                   11
                              Document      Page 4 of 16
                               First Mtg I/J Page 2 of 3
Debtor FERNANDO LUIS VILLAMIL WISCOVITCH                                                                                               Case number 19−06327

6. Meeting of creditors
   Debtors must attend the meeting to         December 6, 2019 at 10:00 AM                                     Location:
   be questioned under oath. In a joint                                                                        OCHOA BUILDING, 500 TANCA
   case, both spouses must attend.            The meeting may be continued or adjourned to a later             STREET , FIRST FLOOR, SAN JUAN,
   Creditors may attend, but are not          date. If so, the date will be on the court docket.               PR 00901
   required to do so.

7. Deadlines                    File by the deadline to object to discharge or to challenge                                   First date set for hearing on
   The bankruptcy clerk's       whether certain debts are dischargeable:                                                      confirmation of plan. The court will
   office must receive these                                                                                                  send you a notice of that date later.
   documents and any
   required filing fee by the   You must file a complaint:                                                                    Filing deadline for
   following deadlines.                                                                                                       dischargeability
                                          •   if you assert that the debtor is not entitled to receive a discharge of any
                                              debts under 11 U.S.C. § 1141(d)(3) or                                           complaints: 2/4/20
                                          •   if you want to have a debt excepted from discharge under 11 U.S.C. §
                                              523(a)(2), (4), or (6).


                                Deadline for filing proof of claim:                                                           3/5/20 For a governmental unit:
                                                                                                                              4/29/20
                                A proof of claim is a signed statement describing a creditor's claim. A proof of
                                claim form may be obtained at www.uscourts.gov or any bankruptcy clerk's office.

                                Your claim will be allowed in the amount scheduled unless:

                                          • your claim is designated as disputed, contingent, or unliquidated;
                                          • you file a proof of claim in a different amount; or
                                          • you receive  another notice.

                                If your claim is not scheduled or if your claim is designated as disputed, contingent,
                                or unliquidated, you must file a proof of claim or you might not be paid on your
                                claim and you might be unable to vote on a plan. You may file a proof of claim
                                even if your claim is scheduled.

                                You may review the schedules at the bankruptcy clerk's office or online at
                                www.pacer.gov.

                                Secured creditors retain rights in their collateral regardless of whether they file a
                                proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of the
                                bankruptcy court, with consequences a lawyer can explain. For example, a
                                secured creditor who files a proof of claim may surrender important nonmonetary
                                rights, including the right to a jury trial.
                                Claims can be filed electronically through the court's website at:
                                 www.prb.uscourts.gov/electronicproofclaimform/
                                It is recommended that secured claims are filed prior to the date of the
                                creditors meeting.

                                If filing by paper, see the Explanations page for information on obtaining a
                                proof of claim form.


                                Deadline to object to exemptions:                                                             Filing Deadline:
                                The law permits debtors to keep certain property as exempt. If you believe that the 30 days after the conclusion of the
                                law does not authorize an exemption claimed, you may file an objection.             meeting of creditors

                                              If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
8. Creditors
   address
             with a foreign                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.

                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
9. Filing a Chapter 11
   bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                              is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                              business.

                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                              See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                              all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                              from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
10. Discharge of debts                        should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                              and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                              entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                              the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                              send you another notice telling you of that date.

                                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                              distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
11. Exempt property                           as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                              believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                              bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.
          Case:19-06327-ESL11 Doc#:46 Filed:01/31/20 Entered:01/31/20 15:48:55                                                                              Desc: Main
                                     Document Page 5 of 16
 Fill in this information to identify your case:

 Debtor 1                     FERNANDO LUIS VILLAMIL WISCOVITCH
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF PUERTO RICO

 Case number           19-06327-BKT
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
                                                                                                                            $131,766.0
 2.1          PR TREASURY DEPARTMENT                                 Last 4 digits of account number       9164                      0                    $0.00         $131,766.00
              Priority Creditor's Name
              (424 OFFICE) BANKRUPTCY                                When was the debt incurred?           2014-2015
              DEPT
              P O BOX 9024140
              San Juan, PR 00902
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes
                                                                                         TAXES


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.1      504 Construction Managers Inc.                             Last 4 digits of account number                                                          $22,796.90
          Nonpriority Creditor's Name
          PMB 302 1353 RD                                            When was the debt incurred?           9/30/2019
          Guaynabo, PR 00966
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Professional Services


 4.2      AEE                                                        Last 4 digits of account number       5583                                                 $1,990.82
          Nonpriority Creditor's Name
          BANKRUPTCY DEPT                                            When was the debt incurred?           4/1/2019
          PO BOX 363508
          SAN JUAN, PR 00936-3508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTILITIES


 4.3      Banco Popular De Puerto Rico                               Last 4 digits of account number       2907                                               $89,877.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/17 Last Active
          209 Munoz Rivera Ave                                       When was the debt incurred?           10/14/19
          San Juan, PR 00918
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lease




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.4      Banco Popular De Puerto Rico                               Last 4 digits of account number       2901                                               $48,627.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/17 Last Active
          209 Munoz Rivera Ave                                       When was the debt incurred?           10/14/19
          San Juan, PR 00918
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lease


 4.5      Banco Popular de Puerto Rico                               Last 4 digits of account number       8620                                               $12,983.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 07/10 Last Active
          Po Box 362708                                              When was the debt incurred?           7/19/19
          San Juan, PR 00936
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.6      Bank of America                                            Last 4 digits of account number       2493                                               $26,349.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                                                             Opened 12/16 Last Active
          Fl1-908-01-50                                              When was the debt incurred?           10/14/19
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.7      Bank of America                                            Last 4 digits of account number       6485                                               $21,640.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                                                             Opened 09/02 Last Active
          Fl1-908-01-50                                              When was the debt incurred?           10/14/19
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.8      DENISE ROVIRA BELLIDO                                      Last 4 digits of account number       n/a                                             $1,300,000.00
          Nonpriority Creditor's Name
          35 AVENIDA LUIS MUNOZ RIVERA                               When was the debt incurred?           2013
          CARIBE PLAZA, APT. 1604
          San Juan, PR 00901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         JUDGMENT IN CASE K DI2013-0783
              Yes                                                       Other. Specify   (DISSOLUTION OF MARRIAGE)


 4.9      DTOP                                                       Last 4 digits of account number       9164                                                     $15.00
          Nonpriority Creditor's Name
          BANKRUPTCY DEPT.                                           When was the debt incurred?           03/21/2017
          PO BOX 41269
          SAN JUAN, PR 00940
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   FINES: 213000036




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.1
 0        FIRST BANK                                                 Last 4 digits of account number       2883                                               $35,029.50
          Nonpriority Creditor's Name
          BANKRUPTCY DEPT                                            When was the debt incurred?           3/18/2016
          PO BOX 9146
          SAN JUAN, PR 00908-0146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   LINE OF CREDIT


 4.1
 1        FIRST BANK                                                 Last 4 digits of account number       6741                                              $952,994.53
          Nonpriority Creditor's Name
          BANKRUPTCY DEPT                                            When was the debt incurred?           3/18/2016
          PO BOX 9146
          SAN JUAN, PR 00908-0146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         UNSECURED BUSINESS LOAN
              Yes                                                       Other. Specify   Case No. SJ2019CV09008


 4.1
 2        FIRST BANK                                                 Last 4 digits of account number       6742                                              $339,466.15
          Nonpriority Creditor's Name
          BANKRUPTCY DEPT                                            When was the debt incurred?           3/18/2016
          PO BOX 9146
          SAN JUAN, PR 00908-0146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         UNSECURED BUSINESS LOAN
              Yes                                                       Other. Specify   Case No. SJ2019CV09008




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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.1
 3        First Bank Puerto Rico                                     Last 4 digits of account number       5179                                               $27,690.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy/FirstLine                                                                       Opened 03/16 Last Active
          Solutions                                                  When was the debt incurred?           5/07/19
          Po Box 9146
          San Juan, PR 00908
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 4        FIRSTMARK SERVICES                                         Last 4 digits of account number       9207                                                 $5,929.06
          Nonpriority Creditor's Name
          PO BOX 2977                                                When was the debt incurred?
          Omaha, NE 68103-2977
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.1
 5        Fm/access Group                                            Last 4 digits of account number       9692                                                 $5,716.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/01 Last Active
          121 S 13th St Ste 201                                      When was the debt incurred?           8/07/19
          Lincoln, NE 68508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.1
 6        FRANCES M. RIVERA TORRES                                   Last 4 digits of account number       0783                                                 $3,000.00
          Nonpriority Creditor's Name
          PO BOX 55020 STATION ONE                                   When was the debt incurred?           8/15/2019
          Bayamon, PR 00960
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   LEGAL SERVICES


 4.1
 7        Lcda. Lucille Borges Capo                                  Last 4 digits of account number                                                            $3,000.00
          Nonpriority Creditor's Name
          499 Carr #2                                                When was the debt incurred?           2019
          Suite 2, Santa Rosa
          Bayamon, PR 00959
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Legal Services


 4.1
 8        LIBERTY CABLEVISION                                        Last 4 digits of account number       3423                                                   $325.40
          Nonpriority Creditor's Name
          BANKRUPTCY DEPT                                            When was the debt incurred?           9/9/19
          PO BOX 719
          Luquillo, PR 00773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 7 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.1
 9        NELNET                                                     Last 4 digits of account number       2476                                               $41,988.33
          Nonpriority Creditor's Name
          BANKRUPTCY DEPT                                            When was the debt incurred?
          PO BOX 2970
          Omaha, NE 68103-2970
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.2
 0        Nelnet                                                     Last 4 digits of account number       0474                                               $36,352.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Claims                                                                          Opened 04/02 Last Active
          Po Box 82505                                               When was the debt incurred?           2/04/18
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.2
 1        Nelnet                                                     Last 4 digits of account number       0574                                                 $4,927.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Claims                                                                          Opened 04/02 Last Active
          Po Box 82505                                               When was the debt incurred?           9/04/19
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                              Case number (if known)         19-06327-BKT

 4.2
 2        Pedro A. Bello Lorie                                       Last 4 digits of account number       n/a                                                  $5,000.00
          Nonpriority Creditor's Name
          I-4 Ave. San Patricio                                      When was the debt incurred?           2019
          Apt 202
          Guaynabo, PR 00968
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real estate agent services


 4.2
 3        ROSARIO RIVERA SANCHEZ                                     Last 4 digits of account number       n/a                                                        $0.00
          Nonpriority Creditor's Name
          Street 73 B Bloque 117 A # 11                              When was the debt incurred?           n/a
          Villa Carolina
          Carolina, PR 00985
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Potential Torts Claim


 4.2      SMALL BUSINESS
 4        ADMINISTRATION                                             Last 4 digits of account number       5008                                              $456,535.32
          Nonpriority Creditor's Name
          273 AVENIDA JUAN PONCE DE                                  When was the debt incurred?           10/16/2013
          LEON
          San Juan, PR 00917
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UNSECURED BUSINESS LOAN




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 9 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                               Case number (if known)         19-06327-BKT

 4.2
 5         V&R HEALTH GROUP CORP.                                    Last 4 digits of account number         n/a                                                   $136,688.00
           Nonpriority Creditor's Name
           35 AVENIDA LUIS MUNOZ RIVERA                              When was the debt incurred?             2018
           CARIBE PLAZA APT. 1604
           San Juan, PR 00901
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Lease Arrears

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Banco Popular de Puerto Rico                                  Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Gpo Box 3228                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 San Juan, PR 00936
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 982238                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 982238                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Bank Puerto Rico                                        Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1130 Munoz Rivera Ave                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 San Juan, PR 00927
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lcdo Rafael Jose Velazquez Villares                           Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 734                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Caguas, PR 00726-0734
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MARIA E. JUARBE IBOTELLA                                      Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 RR 5 BOX 8882                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Bayamon, PR 00956
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nelnet                                                        Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 82561                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Lincoln, NE 68501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 10 of 11
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 Debtor 1 FERNANDO LUIS VILLAMIL WISCOVITCH                                                             Case number (if known)         19-06327-BKT

 Nelnet                                                        Line 4.21 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Po Box 82561                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Lincoln, NE 68501
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                          0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.       $                  131,766.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                  131,766.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                   94,912.39
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $               3,484,007.62

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $               3,578,920.01




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 Fill in this information to identify your case:

 Debtor 1                    FERNANDO LUIS VILLAMIL WISCOVITCH
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF PUERTO RICO

 Case number              19-06327-BKT
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ FERNANDO LUIS VILLAMIL WISCOVITCH                                     X
              FERNANDO LUIS VILLAMIL WISCOVITCH                                         Signature of Debtor 2
              Signature of Debtor 1

              Date       January 31, 2020                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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